Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 1 of 33




           EXHIBIT A
      Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 2 of 33




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION

 JOSE LUIS CARRIZALES,                                §
    Plaintiff,                                        §
                                                      §
 v.                                                   §              CIVIL ACTION NO. ______
                                                      §              JURY TRIAL DEMANDED
 LOWE’S HOME CENTERS, LLC                             §
    Defendant.                                        §




                         DEFENDANT LOWE’S HOME CENTERS, LLC’S
                             INDEX OF MATTERS BEING FILED


        Defendant, LOWE’S HOME CENTERS, LLC ("Lowe’s"), files this Index of Matters

Being Filed pursuant to Local Rule 81 of the Southern District of Texas, as follows:

        Exhibit 1:       All Executed Process:

                         •   Notice of Service of Process to Lowe’s Home Centers, LLC

        Exhibit 2:       All State Court Pleadings:

                     •   Plaintiff's Original Petition filed on July 2, 2021
                     •   Defendant Lowe’s Original Answer filed on August 23, 2021

        Exhibit 3:       State Court Docket Sheet

        Exhibit 4:       List of all counsel of record, including addresses, telephone
                         numbers, and parties represented




CARRIZALES/DEFENDANT LOWE’S HOME CENTERS, LLC’S INDEX OF MATTERS BEING FILED       P A G E |1
DOC #7772260 (10091.00203)
Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 3 of 33




           EXHIBIT 1
                 (All Executed Service of Process)
               Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 4 of 33




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23562375
Notice of Service of Process                                                                            Date Processed: 07/30/2021

Primary Contact:           Heather McClow
                           Lowe's Companies, Inc.
                           1000 Lowes Blvd
                           Mooresville, NC 28117-8520

Entity:                                       Lowe's Home Centers, LLC
                                              Entity ID Number 2515365
Entity Served:                                Lowe's Home Centers, LLC
Title of Action:                              Jose Luis Carrizales vs. Lowe's Home Centers, LLC
Matter Name/ID:                               Jose Luis Carrizales vs. Lowe's Home Centers, LLC (11445704)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Cameron County District Court, TX
Case/Reference No:                            2021-DCL-03919-A
Jurisdiction Served:                          Texas
Date Served on CSC:                           07/29/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Javier Villarreal
                                              956-544-4444

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
             Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 5 of 33
                                    CITATION — PERSONAL SERVICE — TRCP 99


                                               THE STATE OF TEXAS

                                                     2021-DCL-03919-A

 Jose Luis Carrizales                                                   §      IN THE 107TH DISTRICT COURT
 VS                                                                     §      OF
 Lowe's Home Centers, LLC                                               §      CAMERON COUNTY, TEXAS

TO       Lowe's Home Centers, LLC
         Serving Registered Agent, Corporation Service Company dba
         CSC — Lawyers Incorporating Service Company
         211 E 7th Street Suite 620
         Austin TX 78701-3218

NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file
a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration
of twenty days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other
parties of this suit. These disclosures generally must be made no later than 30 days after you file your answer
with the clerk. Find out more at TexasLawHelp.org. " TRCP. 99

You are hereby commanded to appear by filing a written answer to Plaintiffs Original Petition at or before 10:00 o_clock
A.-M-on- the- Mondaynextafter the expiration of20 days after the date of service of this citation before the Honorable
107th District Court of Cameron County, at the Courthouse in said County in Brownsville, Texas. Said PlaintifPs Original
Petition was filed in said court on July 02, 2021, in the above entitled cause.

2021-DCL-03919                                                              Jose Luis Carrizales
                                                                             vs.
                                                                            Lowe's Home Centers, LLC

The nature of Petitioner's demand is fully shown by a true and correct copy of Plaintiffs Original Petition accompanying
this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the mandates thereof,
and make due return as the law directs.

Issued and given under my hand and seal of said Court at Brownsville, Texas, on this the 16th day of July, 2021.
                                        `~► t~tirlr rrr ►rr~~~
                                    ,``~,                    fi
ATTORNEY:                    ~vq~~-(~;,~.,                              Laura Perez-Reyes
Reggie Blakeley
                            `
                           ~~'_ ~          "'~~'~~                      District Clerk of Cameron County
24077845                  ?~~~~               :-V~                      974 E Harrison St.
956-544-4444                                                            Brownsville, Texas 78520
2401 Wild Flower Drive Suf& A :-`
Brownsville TX 78526     ~~ :           ~
                                                                        B
                                                                        Rosa Maria Ochoa, Deputy Clerk
                                ~           ••~==:II.M'    ~`/    ~~`

                                       `~, COUKIS ~
,J     A           Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 6 of 33

                           2021-DCL-03919                                              Jose Luis Carrizales
                          107th District Court                                                 vs.
                                                                                     Lowe's Home Centers, LLC

                                                           RETURN OF SERVICE
      Executed when copy is delivered:
      This is a true copy of the original citation, was delivered to defendant                          on the        day of
                                 ,20

                   NAME/ADDRESS FOR SERVICE                                                                       Officer
                                                                                                              County, TX


                                                                     By:                                          Deputy

     ..........................................................................................~
                                                             OFFICERS RETURN

       Came to hand on the          day of                         , at      o'clock _m and              County, Texas,
       by delivering to each of the within named defendants in person, a true copy of this _                       with
       the date of delivery endorsed thereon, together with the accompanying copy of the _                           at
       the following times and places, to wit:
     I NAME                                    I DATE/TIME                 I PLACE/COURSE/DISTANCE FROM COURTHOUSE I

      And not executed as to the defendant(s),
      The diligence used in finding said defendant(s) being:

      and the cause or failure to execute this process is:

      and the information received as to the whereabouts of said defendant(s) being:


      FEES:                                                                                                       Officer
      SERVING PETITION/COPY $                                                                                 County, TX
      TOTAL:                $
                                                                     By:                                          Deputy


                                                                                              AFFIANT
     ..........................................................................................I
           COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
      In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the
      return. The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable or
      the clerk of the court, the return shall be signed under penalty or perjury and contain the following statement:
      "My name is                                           , my date of birth is                   , my address is

      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
      EXECUTED in                County, State of     , on the    day of                                              .20


      ID Number/Expiration of Certification                          Declarant/Authorized Process Server
Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 7 of 33




           EXHIBIT 2
                    (All State Court Pleadings)
..,       ,
                   Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD FILED
                                                                               Page    8 of 33
                                                                                   - 7/2/2021 12:24 PM
      `                                                                           2021-DCL-03919 / 55018837
                                                                                  LAURA PEREZ-REYES
                                                                                  Cameron County District Clerk
                                                                                  By Rosa Ochoa Deputy Clerk
                                                  NO?021-DCL-03919
                                         CAUSE

              JOSE LUIS CARRIZALES                        §             IN THE DISTRICT COURT
              Plaintiff,
                                                          §    Cameron County - 107th District Court
                                                          §
              V.                                          §                   JUDICIAL DISTRICT
                                                          §
              LOWE'S HOME CENTERS, LLC                    §
              Defendants.                                 §          CAMERON COUNTY, TEXAS


                                        PLAINTIFF'S ORIGINAL PETITION

              TO THE HONORABLE JUDGE OF SAID COURT:

                     NOW COMES PLAINTIFF, JOSE LUIS CARRIZALES, complaining of and

              about LOWE'S HOME CENTERS, LLC, hereinafter called Defendant, and for cause of

              action show unto the Court the following:

                                                      1.
                                       DISCOVER_Y_CON_T_ROL_P_LAN-LE-V-EL

                     1.1    Discovery shall be conducted under Level 3 pursuant to Rule 190.4 of the

              Texas Rules of Civil Procedure.

                                                          2.

                                                PARTIES AND SERVICE

                     2.1   Plaintiff, JOSE LUIS CARRIZALES, is an individual residing in Cameron

              County, Texas.

                     2.2   Defendant LOWE'S HOME CENTERS, LLC, (hereinafter "LOWE'S") a

              Domestic Limited Liability Company based in Texas, is organized under the laws of the

              State of Texas, is authorized to do business in Texas and may be served with process

              by serving its registered agent, Corporation Service Company dba CSC - Lawyers



                                                                             Plaintiff's Original Petition
                                                                                                 Page 1
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Incorporating Service Company, 211 E., 7th Street, Suite 620, Austin, Texas 78701-

3218. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                            3.
                                .IURISDICTION AND VENUE

         3.1   The subject matter in controversy is within the jurisdictional limits of this

court.    This court has jurisdiction over the parties because the Defendant if Texas

residents.

         3.2   Venue in Cameron County is proper in this cause under Section

15.002(a)(1) of the Texas Civil Practice and Remedies Code because all or a

substantial part of the events or omissions giving rise to this lawsuit occurred in this

county.


                                          FACTS

         4.1   This lawsuit arises out of an event that occurred on or about July 2, 2019,

at a LOWE'S HOME CENTERS, LLC, located at 4705 S. Expressway 77 & 83,

Harlingen, Texas 78550 (hereinafter "the Store").

         4.2   At all times material hereto. Defendant. LOWE'S HOME CENTERS. LLC.

were the owners of the Store.

         4.3   On July 2, 2019, Mr. Carrizales, accompanied by two nephews, walked

into a Lowe's store located in Harlingen, Texas to purchase some lumber. As Mr.

Carrizales and his nephews were walking down the aisle they noticed the material they

sought were above eye-level on the right side of the aisle. As they proceeded down the



                                                                   Plaintiff's Original Petition
                                                                                       Page 2
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aisle looking for the items they needed, Mr. Carrizales unexpectedly came upon and

tripped on a forklift/jack that had been left unattended by Lowe's employees.                Mr.

Carrizales further was not able to see the forks due to the same contrast as the

concrete floor. Therefore, the forklift/jack was placed in an unsafe area and manner. In

addition, the Store failed to warn the invitees of the hazard forklift/jack presented. As a

result of the Store's failure to maintain a safe premises for its customers and not placing

adequate warning signs around the hazardous area, Mr. CARRIZALES sustained

severe bodily injuries due to his fall to the pavement floor.

                                         The Injuries

        4.4   JOSE LUIS CARRIZALES suffered physical and emotional injuries as a

result of this incident, including, but not limited to, pain to his left wrist/hand, back, and

neck.   He has undergone physical therapy and daily medications in an aftempt to

control the pain caused by the injuries sustained in this incident. Mr. CARRIZALES has

undergone an MRI of cervical spine and has been diagnosed with the following:

        1)    3 mmposterior and central disc herniation at C2-C3;
        2)    2 mm posterior disc bulge at C3-C4;
        3)    3 mm posterior and central disc herniation at C4-05;
        4)    3 mm posterior and central disc herniation at C5-C6;
        5)    2 mm posterior disc bulge at C6-C7; and
        6)    2 mm posterior disc bulge at C7-Tl.


In all reasonable probability, Mr. CARRIZALES will continue to incur medical expenses

to alleviate his pain including, but not limited to, interventional pain management

treatments, physical therapy, and additional medications.




                                      - --   -    ----   -----
                                                                     PlaintifPs Original Petition
                                                                                         Page 3
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                                       5.
                              PLAINTIFF'S CLAIM OF
              - NEGLIGENCE AGAINST LOWE'S HOME CENTERS, LLC-

        5.1     As described above and referenced herein, Mr. CARRIZALES entered

Defendant's place of business with the Defendant's expressed or implied knowledge

and for its mutual benefit. Specifically, Mr. CARRIZALES entered the Store for the

purpose of making a purchase.

        5.2     At all times mentioned herein, Defendant, LOWE'S owned the property in

question, located on 4705 S. Expressway 77 & 83, Harlingen, Texas 78550.

        5.3     Prior to and at the time of the accident, the premises posed an

unreasonable risk of harm in due to the unsafe placement of the fork lift/jack that was

improperly and dangerously exposed in the lumber area of the Store that caused

Plaintiff's injuries.

        5.4     The Defendant, LOWE'S, its agents, servants, and/or employees knew or

reasonably should have known of the dangerous condition and the risk of harm that the

surface conditions of its store floor posed to its patrons. In particular, the Defendant

had a duty to rnaintain its parking lot area in a safe and proper condition so as to

prevent falls and creating a dangerous condition that would likely result in the injury of

its customers.

        5.5     In addition to showing that the pavement floor had not been properly

maintained, the Plaintiff would show the Court that the condition of the floor had



 --             -       -   -   --    —    --    —     -     -   Plaintiff's Original Petition

                                                                                     Page 4
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    continued for such an extended period of time that the Defendant should have realized

    that a dangerous condition existed; which was likely to result in the injury of one of its

    patrons. Defendant, through its employees, should have discovered the dangerous

    condition by keeping a proper lookout.            Specifically, the Defendant should have

    reasonably known of the unreasonable risk of harm it possessed and the likelihood that

    its patrons, including the Plaintiff, would trip and fall.

           5.6     Defendant, LOWE'S is liable for the PlaintifPs injuries due to the

    negligence of its agents who were acting in the regular course and scope of their

    employment. Defendant is guilty of negligence based on the following actions and/or

    omissions of its employees/agents:

                   5.6.1 Failing to maintain the pavement floor in a reasonably safe
                         condition;

                   5:6.-2—Failing-to-property-inspectand-maintainthe pavementfloor area in
                          question to discover the dangerous condition;

                   5.6.3 Failing to properly inspect the premises and drain cover in question;

                   5.6.4 Failing to place signs to warn Plaintiff of the unsafe condition of the
                         flooring area;

                   5.6.5 Failing to supervise and correct the unreasonably dangerously
                         placed forklift/jack;

                   5.6.6 Failing to make the condition reasonably safe to prevent the
                         Plaintiff from tripping and falling;

                  5.6.7 Failing to maintain sufficient lighting in the hazardous area around
                        the drain cover to warn it patrons of the dangerous condition in the
                        store's lumber department.

           5.7    The injuries sustained by the Plaintiff were proximately caused by the

    Defendant's negligence.



                                                                       Plaintiff's Original Petition
                                                                                           Page 5
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                                     6.
              DAMAGES FOR PLAINTIFF, JOSE LUIS CARRIZALES

      6.1    As a direct and proximate result of the occurrence made the basis of this

lawsuit the Plaintiff, JOSE LUIS CARRIZALES, was caused to suffer bodily injury, and

to incur the following damages:

             6.1.1 Reasonable medical care and expenses in the past. These
                   expenses were incurred by Plaintiff, JOSE LUIS CARRIZALES for
                   the necessary care and treatment of the injuries resulting from the
                   accident complained of herein and such charges are reasonable
                   and were usual and customary charges for such services in
                   Cameron County, Texas;

             6.1.2 Reasonable and necessary medical care and expenses which will
                   in all reasonable probability be incurred in the future;

             6.1.3 Physical pain and suffering in the past and in the future;

             6.1.4 Physical impairment in the past and which, in all reasonable
                   probability, will be suffered in the future; and

             6.1.5 Mental anguish in the past and in the future.


                                      7.
                            MAXIMUM AMOUNT CLAIMED

      7.1    Plaintiff seeks damages within the jurisdictional limits of this court.

Pursuant to pleading requirements under Texas Rules of Civil Procedure 47, Plaintiff




                                                                   PlaintifPs Original Petition
                                                                                       Page 6
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affirmatively pleads that she seeks monetary relief over $200,000.00 but no more than

$1,000,000.00.

                                         PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff, JOSE LUIS CARRIZALES,

respectfully prays that the Defendant be cited to appear and answer herein, and that

upon a final hearing of the cause, judgment be entered for the Plaintiff against

Defendant for damages in an amount within the jurisdictional limits of the Court;

together with prejudgment interest; post-judgment interest at the legal rate, costs of

court; and such other and further relief to which the Plaintiff may be entitled at law or in

equity.

                                               Respectfully submitted,

                                               LAW OFFICES OF JAVJEIZV_ILLARREAL
                                               2401 Wildflower Drive, Suite A
                                               Brownsville, Texas 78520
                                               Tel: (956) 544-4444
                                               Fax: (956) 550-0877


                                               By:      /s/ Javier
Villarreal
                                                    Javier Villarreal
                                                    State Bar No. 240028097
                                                    iv(a-)-jvlawfirm.com
                                               COUNSEL FOR PLAINTIFF

                       PLAINTIFF DEMANDS A TRIAL BY JURY

                     COURTESY NOTICE TO DEFENDANT

      If you had insurance at the time of the accident, please forward a copy of this

petition to your insurance company immediately.


                                                                   Plaintiff's Original Petition
                                                                                       Page 7
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Lowe's Companies-Risk Management Dept.
P.O. Box 14072
Lexington, KY 40512
Attn: Ralph J. Wallace, Jr.
Phone No.: 1-800-775-6937
Facsimile: 859-264-4066


Our file No. 301929788240001
Claimant: JOSE LUIS CARRIZALES
DOL: 07/02/2019




                                                       PlaintifPs Original Petition
                                                                           Page 8
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             South Texas Investigative Services
                                     1308 COSTA DEL SOL DRIVE
                                     BROWNSVILLE, TEXAS 78520
                                        TEL: 956-455-3535
                            EMAIL: STIS.INVESTIGATIONS~a,YAHOO.COM

                                            July 26, 2021

Lowe's Home Centers, LLC                              Via CMRRR70201290000024148475
CSC-LAWYERS INCORPORATING SERVICE COMPANY
211 E. 7TH Street Suite 620
Austin, Texas 78701-3218

       Re:    Cause No. 20201-DCL-03919-A; Jose Luis Carrizales VS. Lowe's Home Centers,
              LLC; In the 107th Judicial District Court; Cameron County, Texas

To Whom It May Concern:

As the registered agent for Lowe's Home Centers. LLC, enclosed herewith, please find the
following documents:

       Plaintiffs' Original Petition; and

       Citation to State of Texas.

Shouldyou-have-anyquestions-or-concerns,—please-do-nothesitate-to-contact-me.

Cordially,



Gerard Serrata
Authorized Process Server
License # A12921
(956) 455-3535
                         Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 17 of 33


   Ckr'ard Serrata
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BrownSv!'g~- TaC 78520                                                                        ~                                                 78575
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                                                                          2021-DCL-03919 / 56543341
                                                                          LAURA PEREZ-REYES
                                                                          Cameron County District Clerk
                                                                          By Christina Hernandez Deputy Clerk
                                    CAUSE NO. 2021-DCL-03919-A

JOSE LUIS CARRIZALES,                             §               IN THE DISTRICT COURT
   Plaintiff,                                     §
                                                  §
v.                                                §              107TH JUDICIAL DISTRICT
                                                  §
LOWE’S HOME CENTERS, LLC,                         §
  Defendant.                                      §           CAMERON COUNTY, TEXAS



         DEFENDANT LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER
                   TO PLAINTIFF’S ORIGINAL PETITION



         Defendant, Lowe’s Home Centers, LLC, hereby files its Original Answer to

Plaintiff’s Original Petition as follows:

                                           GENERAL DENIAL

         1.        Defendant denies each and every, all and singular, the material allegations

contained within Plaintiff’s pleadings and demands strict proof thereof.

                                       AFFIRMATIVE DEFENSE

         2.        Pleading further, alternatively, and by way of affirmative defense,

Defendant asserts that it is not liable to Plaintiff because Plaintiff’s personal injury claim

under the theory of negligence is barred by the two year statute of limitations in Texas

Civil Practice & Remedies Code § 16.003. Plaintiff’s claim accrued on July 2, 2019, when

he allegedly sustained personal injuries made the basis of this lawsuit. Plaintiff filed suit




CARRIZALES / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                                1|P A G E
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on July 2, 2021 but did not serve Defendant with service until July 29, 2021 via certified

mail.

                                         PRAYER FOR RELIEF

         Defendant prays that Plaintiff take nothing by this lawsuit, that Defendant go

hence with its costs without delay, and for such other and further relief, both general and

special, at law and in equity, to which Defendant may show itself justly entitled.



                                                  Respectfully submitted,

                                                  MAYER LLP

                                                  4400 Post Oak Parkway, Suite 1980
                                                  Houston, Texas 77027
                                                  713.487.2000 / Fax 713.487.2019

                                                  By:    Raul I. Saenz
                                                        Kevin P. Riley
                                                        State Bar No. 16929100
                                                        E-Mail: kriley@mayerllp.com
                                                        Raul I. Saenz
                                                        State Bar No. 24093092
                                                        E-Mail: rsaenz@mayerllp.com

                                                  ATTORNEYS FOR DEFENDANT
                                                  LOWE’S HOME CENTERS, LLC




CARRIZALES / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                                2|P A G E
Doc# 7751876 (10091.00203)
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                                     CERTIFICATE OF SERVICE

       This is to certify that on the 23rd day of August 2021, a true and correct copy of
the foregoing has been forwarded to all counsel of record as follows:

             Javier Villareal                      ☒E-MAIL/E-SERVICE
    LAW OFFICES OF JAVIER VILLAREAL                ☐HAND DELIVERY
     2401 Wildflower Drive, Suite A                ☐FACSIMILE
        Browsville, Texas 78520                    ☐OVERNIGHT MAIL
           jv@jvlawfirm.com                        ☐REGULAR, FIRST CLASS MAIL
        ATTORNEY FOR PLAINTIFF                     ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED




                                                   Raul I. Saenz
                                                  Raul I. Saenz




CARRIZALES / DEFENDANT LOWE’S HOME CENTERS, LLC
LOWE’S ORIGINAL ANSWER                                                             3|P A G E
Doc# 7751876 (10091.00203)
         Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 21 of 33

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Kathryn Keefer on behalf of Raul Saenz
Bar No. 24093092
kkeefer@mayerllp.com
Envelope ID: 56543341
Status as of 8/23/2021 11:02 AM CST

Associated Case Party: JoseLuisCarrizales

Name                BarNumber    Email            TimestampSubmitted      Status

Javier Villarreal                jv@jvlawfirm.com 8/23/2021 10:23:46 AM   SENT



Associated Case Party: Lowe's Home Centers, LLC

Name                 BarNumber    Email                    TimestampSubmitted      Status

Kathy Keefer                      kkeefer@mayerllp.com     8/23/2021 10:23:46 AM SENT

Kevin Riley                       kriley@mayerllp.com      8/23/2021 10:23:46 AM SENT

Raul Saenz                        rsaenz@mayerllp.com      8/23/2021 10:23:46 AM SENT

Elizabeth Trevino                 etrevino@mayerllp.com    8/23/2021 10:23:46 AM SENT

Chrysa Williams                   CWilliams@mayerllp.com   8/23/2021 10:23:46 AM SENT
     Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD FILED
                                                                 Page   22 of 33
                                                                     - 8/23/2021 10:23 AM
                                                                               2021-DCL-03919 / 56543341
                                                                               LAURA PEREZ-REYES
                                                                               Cameron County District Clerk
                                                                               By Christina Hernandez Deputy Clerk
                                    CAUSE NO. 2021-DCL-03919-A

JOSE LUIS CARRIZALES,                               §                    IN THE DISTRICT COURT
   Plaintiff,                                       §
                                                    §
v.                                                  §                107TH JUDICIAL DISTRICT
                                                    §
LOWE’S HOME CENTERS, LLC,                           §
  Defendant.                                        §              CAMERON COUNTY, TEXAS



             DEFENDANT LOWE’S HOME CENTERS, LLC’S JURY DEMAND



         Defendant, Lowe’s Home Centers, LLC d/b/a Lowe’s, pursuant to the provisions

of Rule 216 of the Texas Rules of Civil Procedure, hereby formally makes this demand for

a Jury Trial in the above-referenced cause.

                                                  Respectfully submitted,

                                                  MAYER LLP

                                                  4400 Post Oak Parkway, Suite 1980
                                                  Houston, Texas 77027
                                                  713.487.2003/Fax 713.487.2019

                                                  By:    Raul I. Saenz
                                                        Kevin P. Riley
                                                        State Bar No. 16929100
                                                        kriley@mayerllp.com
                                                         Raul I. Saenz
                                                        State Bar No. 24093092
                                                        rsaenz@mayerllp.com
                                                        ATTORNEYS FOR DEFENDANT




CARRIZALES / DEFENDANT LOWE’S HOME CENTERS, LLC
JURY DEMAND                                                                                1|P A G E
Doc# _____ (10091.00203)
     Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 23 of 33




                                     CERTIFICATE OF SERVICE

       This is to certify that on the 23rd day of August 2021, a true and correct copy of
the foregoing has been forwarded to all counsel of record as follows:

            Javier Villareal                      ☒E-MAIL/E-SERVICE
   LAW OFFICES OF JAVIER VILLAREAL                ☐HAND DELIVERY
    2401 Wildflower Drive, Suite A                ☐FACSIMILE
       Browsville, Texas 78520                    ☐OVERNIGHT MAIL
          jv@jvlawfirm.com                        ☐REGULAR, FIRST CLASS MAIL
       ATTORNEY FOR PLAINTIFF                     ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED

                                                  Raul I. Saenz
                                                  Raul I. Saenz




CARRIZALES / DEFENDANT LOWE’S HOME CENTERS, LLC
JURY DEMAND                                                                        2|P A G E
Doc# _____ (10091.00203)
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Kathryn Keefer on behalf of Raul Saenz
Bar No. 24093092
kkeefer@mayerllp.com
Envelope ID: 56543341
Status as of 8/23/2021 11:02 AM CST

Associated Case Party: JoseLuisCarrizales

Name                BarNumber    Email            TimestampSubmitted      Status

Javier Villarreal                jv@jvlawfirm.com 8/23/2021 10:23:46 AM   SENT



Associated Case Party: Lowe's Home Centers, LLC

Name                 BarNumber    Email                    TimestampSubmitted      Status

Kathy Keefer                      kkeefer@mayerllp.com     8/23/2021 10:23:46 AM SENT

Kevin Riley                       kriley@mayerllp.com      8/23/2021 10:23:46 AM SENT

Raul Saenz                        rsaenz@mayerllp.com      8/23/2021 10:23:46 AM SENT

Elizabeth Trevino                 etrevino@mayerllp.com    8/23/2021 10:23:46 AM SENT

Chrysa Williams                   CWilliams@mayerllp.com   8/23/2021 10:23:46 AM SENT
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            EXHIBIT 3
                     ( State Court Docket Sheet)
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                                                      Details




             Case Information

             2021-DCL-03919 | Jose Carrizales vs. Lowe's Home Centers, LLC

             Case Number                              Court                              Judicial Officer
             2021-DCL-03919                           107th District Court               Euresti, Benjamin, Jr.
             File Date                                Case Type                          Case Status
             07/02/2021                               Injury or Damage - Motor Vehicle   Pending




             Party

             Plaintiff                                                                   Active Attorneys 
             Carrizales, Jose Luis                                                       Attorney
                                                                                         Blakeley, Reggie
                                                                                         Retained



                                                                                         Lead Attorney
                                                                                         Villarreal, Javier
                                                                                         Retained




             Defendant                                                                   Active Attorneys 
             Lowe's Home Centers, LLC                                                    Lead Attorney
                                                                                         RILEY, KEVIN P.
             Address
             Serving Registered Agent, Corporation Service Company dba CSC -             Retained
             211 E. 7th Street, Suite 620
             Austin TX 78701-3218
                                                                                         Attorney
                                                                                         Saenz, Raul I
                                                                                         Retained




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                                                1/4
8/26/2021       Case 1:21-cv-00132 Document 1-1 Filed on 08/26/21 in TXSD Page 27 of 33
                                                      Details




             Events and Hearings


                07/02/2021 Original Petition (OCA) 


                   Comment
                   Plaintiff's Original Petition


                07/02/2021 Efiled Original Petition Document 


                Plaintiff's Original Petition

                   Comment
                   Plaintiff's Original Petition


                07/16/2021 Citation Issued 


                E-Sig - Citation - Personal Service

                   Comment
                   Citation was emailed to cindy@jvlawfirm.com as per e-file instructions


                07/16/2021 Citation 


                Served
                08/04/2021

                Anticipated Server
                Other

                Anticipated Method
                In Person
                Actual Server
                Other

                Returned
                08/16/2021


                08/16/2021 Service Return 


                Return of Service

                   Comment
                   Return of Service


                08/23/2021 Original Answer 


                Carrizales - Lowe's Answer to Plaintiff's Petition.pdf (Q)




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                          2/4
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                                                      Details

                   Comment
                   Defendant Lowe's Home Centers, LLC's Original Answer to Plaintiff's Original Petition


                08/23/2021 Jury Demand 


                Carrizales - Lowe's Jury Demand.pdf (Q)

                   Comment
                   Defendant Lowe's Home Centers, LLC's Jury Demand


                08/23/2021 Jury Fee Paid (OCA)




             Financial

             Carrizales, Jose Luis
                    Total Financial Assessment                                                                    $315.00
                    Total Payments and Credits                                                                    $315.00


              7/2/2021       Transaction Assessment                                                              $315.00

              7/2/2021       E-File Electronic Payment       Receipt # 2021-12724       Carrizales, Jose Luis   ($315.00)
             Lowe's Home Centers, LLC
                    Total Financial Assessment                                                                     $40.00
                    Total Payments and Credits                                                                     $40.00


              8/23/2021        Transaction                                                                        $40.00
                               Assessment

              8/23/2021        E-File Electronic            Receipt # 2021-          Lowe's Home Centers,        ($40.00)
                               Payment                      16000                    LLC




             Documents


                Plaintiff's Original Petition
https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                                                          3/4
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                                                      Details
                E-Sig - Citation - Personal Service

                Return of Service

                Carrizales - Lowe's Answer to Plaintiff's Petition.pdf (Q)
                Carrizales - Lowe's Jury Demand.pdf (Q)




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                        4/4
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            EXHIBIT 4
                   (List of All Counsel of Record)
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWNSVILLE DIVISION

 JOSE LUIS CARRIZALES,                                    §
    Plaintiff,                                            §
                                                          §
 v.                                                       §               CIVIL ACTION NO. ______
                                                          §               JURY TRIAL DEMANDED
 LOWE’S HOME CENTERS, LLC                                 §
    Defendant.                                            §


             COUNSEL OF RECORD AND INFORMATION PURSUANT TO
                          LOCAL RULE CV-81(C)


(1)   A list of all parties in the case, their party type (e.g., plaintiff, defendant,
intervenor, receiver, etc.) and current status of the removed case (pending,
dismissed);

        Plaintiff         Jose Luis Carrizales

        Defendant Lowe’s Home Centers, LLC

        The removed case is currently pending.

(2)    A civil cover sheet and a certified copy of the state court docket sheet; a copy of
all pleadings that assert causes of action (e.g. complaints, amended complaints,
supplemental complaints, counterclaims, cross-actions, third party actions,
interventions, etc.); all answers to such pleadings and a copy of all process and orders
served upon the party removing the case to this court, as required by 28 U.S.C. §
1446(a).

        See attached civil cover sheet and documents attached to Defendant's Notice
        of Removal as Exhibit “A.”

(3)   A complete list of attorneys involved in the action being removed, including
each attorney's bar number, address, telephone number and party or parties
represented by him/her;




_________________________________________________________________________________________________________________
CARRIZALES/COUNSEL OF RECORD AND INFORMATION PURSUANT TO LOCAL RULE CV-81(C)                       P A G E |1
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LAW OFFICES OF JAVIER VILLAREAL                                MAYER LLP

Javier Villareal                                                Kevin P. Riley
State Bar No. 240028097                                         State Bar No. 16929100
E-Mail: jv@lawfirm.com                                          Southern Bar No. 13766
2401 Wildflower Drive, Suite A                                 E-Mail: kriley@mayerllp.com
Brownsville, Texas 78520                                       Raul I. Saenz
956.544.4444 / F: 956.550.0877                                 State Bar No. 24093092
                                                               Southern Bar No. 2924208
Counsel for Plaintiff                                          E-Mail: rsaenz@mayerllp.com
                                                               4400 Post Oak Parkway, Suite 1980
                                                               Houston, Texas 77027
                                                               713.487.2000 / F: 713.487.2019

                                                               Counsel for Defendant
                                                                LOWE’S HOME CENTERS, LLC



 (4)    A record of which parties have requested a trial by jury (this information is in
 addition to placing the word "jury" at the top of the Notice of Removal immediately
 below the case number);

         Plaintiff, Jose Luis Carrizales has requested a trial by jury;

         Defendant, Lowe’s Home Centers, LLC has requested a trial by jury.




 _________________________________________________________________________________________________________________
 CARRIZALES/COUNSEL OF RECORD AND INFORMATION PURSUANT TO LOCAL RULE CV-81(C)                       P A G E |2
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(5)     The name and address of the court from which the case is being removed.

        Cameron County District Court
        Laura Perez-Reyes, District Clerk
        974 East Harrison Street
        Brownsville, Texas 78520




_________________________________________________________________________________________________________________
CARRIZALES/COUNSEL OF RECORD AND INFORMATION PURSUANT TO LOCAL RULE CV-81(C)                       P A G E |3
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